                            Case 3:20-cv-00133-JCH Document 51 Filed 03/19/20 Page 1 of 6



                                           UNITED STATES DISTRICT COURT
                                             DISTRICT OF CONNECTICUT


    __________________________________
    JAKUB MADEJ
                                                                 CIVIL ACTION No. 3:20-cv-00133-JCH
                        Plaintiff,

    v.
                                                                 JURY TRIAL DEMANDED
    YALE UNIVERSITY, MARK SCHENKER
    JESSIE ROYCE HILL, MARVIN CHUN,
                                                                 MARCH 19, 2020
    PETER SALOVEY

         Defendants.
    DEFENDANTS?? REALLY??


    __________________________________


                                           JAKUB’S RESPONSE TO
                       DEFENDANTS’ 3/19/2020, 10:42 AM EDT MOTION TO QUASH NOTICES OF
                                         DEPOSITION (Doc. No. 48); AND
                       DEFENDANTS’ “THIS IS A DUCK! DON’T YOU AGREE THAT IT’S A DUCK 1”
                                          MEMORANDUM (Doc. No. 50)




                      Jakub Madej 2, the Plaintiff, submits this response to Defendants’ motion to quash the
notices of deposition he sent to Counsel in anticipation of Your Honor’s ruling on the motion for
expedited discovery. Defendants filed this motion at 10:42 AM EDT on March 19, 2020
(Thursday).
                      I am twenty-three-years of age. I am not a lawyer.


                                 THE SHAM “COMMITTEE” IS BEING REVEALED: PART I



1
  I offer a $50 cash prize to the first person that persuasively explains this language, and what it refers to in this case.
Email your explanations to duckmemorandum@lawsheet.com, including your name and telephone number. This offer
expires on March 26, 2020 at 3:14am.
2
  Many people pronounce my name as: YA-koob MA-dey. I have no personal preference.
           Case 3:20-cv-00133-JCH Document 51 Filed 03/19/20 Page 2 of 6



         This case concerns incompetent, negligent, and possibly fraudulent judgment of Yale
College administration (not: academic faculty) that led to Plaintiff’s “dismissal for academic
reasons” in January 2020.
         I cannot possibly know how many vulnerable twenty-something-year old undergraduate
students were unlawfully impacted by various “committees” at Yale College whose level of
transparency can only be described as egregious — simply because Yale University alone possesses
and controls all information that could shed a light on decisions these committee make, let alone
conclusively show who, when, how, and why suffered serious harm from bad faith decisions
disguised as “proper judgment”.
         I know there is one — but I am certain there are dozens more.
         I moved the Honorable Court for expedited discovery on March 17 (Doc. No. 42), seeking
to depose members of the purported “Committee” that determined to withdraw me from Yale, and
to provide indisputable evidence to the public that this “Committee” never made a proper academic
judgment, an academic judgment, or even any judgment – simply because the Committee does not
exist.


                                      LEGAL ARGUMENT


         Counsel argues my notices of deposition should be quashed because: (i) parties have not
conferred and Court did not grant leave, therefore no formal discovery can take place pursuant to
Fed. R. Civ. P. 26(f); and (ii) the deposition notice provided was not reasonable under Fed. R.
Civ. P. 30(b)(1). I refute both arguments in that order.


                                          ARGUMENT 1
 PARTIES HAVE NOT CONFERRED AND COURT DID NOT GRANT LEAVE, THEREFORE NO
          FORMAL DISCOVERY CAN TAKE PLACE PURSUANT TO FED. R. CIV. P. 26(f)


         No reasonable person would dispute the hornbook rule that, as a matter of principle,
formal discovery can only take place after parties confer for the Rule 26(f) conference.


                                                                                               2
            Case 3:20-cv-00133-JCH Document 51 Filed 03/19/20 Page 3 of 6



          I am not a lawyer. Counsel knows I have no legal education. He practiced law nineteen years
before I was conceived. He is a sophisticated litigator whose understanding of law and whose
litigation experience I can only dream of. But the argument he offers to the Court here today
doesn’t even pass the straight face test.
          I am not a lawyer. But it seems to me the Rule 26(f) conference exists in the first place to
give parties an ability and an opportunity to (i) meet and communicate in a structured
environment that contains parties’ emotions and feelings, if such exist and prevent a constructive
discussion; (ii) understand why Plaintiff took action he did; (iii) see if the dispute can be decided
without burdening the Court; and, if it cannot, (iv) to propose a reasonable plan to structure
parties’ actions in, and before, discovery. Nothing even remotely close to this took place in this
action.
          Fifty (50) days elapsed since I filed this action with the Court. Parties have not met or
conferred in any sensible meaning of this word. We engaged in no informal discovery of any kind.
Counsel merely filled in his firm’s boilerplate form with standard dates that comply with Your
Honor’s Individual Rule — that is, include specific dates, not deadlines tied to previous events —
and emailed me asking if I have any objections.
          No, Your Honor, I do not dispute that I was a student at Yale College.
          It is also obvious for anyone who carefully examines the docket that the Honorable Court
did not grant leave to expedite discovery as of 3:14pm, March 19, 2020. I understand that your
Honor must, to use a non-legal term, allow me to take a deposition before I take the deposition. I
understand very well why this is the rule as a matter of both public policy and reasonability.
          Counsel, through his actions, has demonstrated no interest in ever conferring for any
conference. This conclusively voids his argument as a matter of reasonability.


                                            ARGUMENT 2
      THE DEPOSITION NOTICE WAS UNREASONABLE UNDER FED. R. CIV. P. 30(b)(1)


          Defendants’ only remaining argument is that my notice of deposition with “two days
notice” [sic] was unreasonable.
          I respectfully disagree.

                                                                                                    3
          Case 3:20-cv-00133-JCH Document 51 Filed 03/19/20 Page 4 of 6



        Obviously, reasonableness depends on the circumstance. Counsel cites Tate v. Levy
Restaurant Holdings, LLC, 150 F. Supp. 3d 245 (E.D.N.Y. 2015), trying to convince the Court
that three days’ notice would not be enough (p. 3). But circumstances in Tate could not be more
different than the circumstances in the present action.
        In the present action, Plaintiff seeks expedited discovery to offer conclusive evidence of
serious questions going to the merits at a preliminary injunction hearing. In Tate, parties engaged
in discovery for months before Judge Weinstein found, to quote Counsel, the “that a motion to
quash a deposition had been granted because the plaintiff sought to hold the deposition on only
three days' notice.”. Parties did not even discuss whether or not to request an expedited discovery
from the Court; Judge Weinstein directed the parties to do so.
        Counsel cites three other cases; parties in none of these actions sought expedited discovery.
I will thus refrain from discussing these rulings.
        If Counsel gave more credit to the pro se Plaintiff’s (i) limited but not nil understanding of
the law, and (ii) attempts to accommodate Defendants in these difficult circumstances, he would
not attempt to convince the Honorable Court that two days’ notice was unreasonable.
        Counsel knows I am not a lawyer. He could have asked to reschedule these depositions
until, for example, Monday and Tuesday instead of Friday and Saturday, as I originally suggested.
My phone number is (203) 928-8486, and my email is j.madej@lawsheet.com. I see no reason to
disagree to Counsel’s request for three additional days to make appropriate arrangements,
whatever they might be. Instead, Counsel objected by default. "This is clearly unreasonable." (p.
3)
        I suggested in plain English that we can conduct these depositions remotely, through Zoom
or other advanced conferencing software. I even provided Counsel with a link he could click, or
manually type into his browser, to join the virtual deposition courtroom at a mutually agreed date.
He failed to address that offer.
        While virtual remote depositions may be uncommon in the conservative legal community,
I cannot think of any material reason why Counsel could object to this novel method of
communication that makes everyone’s lives easier; or, to quote his first email to me, why
conducting a deposition through Zoom would be “not permitted”. Yale University now Zoom to
conduct all of its classes.
                                                                                                    4
         Case 3:20-cv-00133-JCH Document 51 Filed 03/19/20 Page 5 of 6



       If he agreed to hold the deposition through Zoom, Counsel would have an identical
opportunity to attend and cross-examine as he would at 1157 Chapel Street in New Haven, or in
any other physical location. Counsel failed to address this extra step I took to accommodate
students who might be scattered around the country, self-isolating, and enjoying their free time —
because obviously having them travel to New Haven for this deposition alone would be
unreasonable. But ignoring a carefully engineered way to avoid undue burden is no less
unreasonable, and certainly “clearly unreasonable." (p. 3)
       Courts understand very well that expedited discovery is different from a mere discovery. Judge
Mishler agreed even one day’s notice was reasonable while on expedited discovery schedule.
Natural Organics, Inc. v. Proteins Plus, Inc., 724 F. Supp. 50, 52 n.3 (E.D.N.Y. 1989) (one day's
notice reasonable when the parties were on an expedited discovery schedule)).
       If Counsel correctly found that I served an inappropriate notice of deposition for some
minor procedural reason — which is not unlikely because I never conducted a deposition before —
he could contact me instead of bothering the Honorable Court. My phone number is (203) 928-
8486. Counsel did not do that.


                                     JAKUB’S ARGUMENT


       I can think of only one reason Counsel so vehemently opposes discovery. Counsel knows
very well no Committee exists in reality. No committee ever made any informed academic
judgment, an academic judgment, or even a judgment – because no committee exists.


                                  (NO) ACTION REQUESTED


       Because of the foregoing, I do not request any action from the Court at this time. We are
experience some of the most extraordinary epidemic in our lifetimes. We need to provide care to
those who need it the most now, here, today.
       Asking the Honorable Court to take an action that can wait until I proffer new facts and
submit my memorandum of law would not be in the interest of justice.


                                                                                                   5
          Case 3:20-cv-00133-JCH Document 51 Filed 03/19/20 Page 6 of 6



       I will offer more arguments and facts very soon that finally exposes this sham “committee”
at tosses a coin whenever it makes a “judgment” – the judgment that determines the most
consequential events in students’ lives.


       I am not a lawyer, and I thank Your Honor for taking that fact into consideration. This
would not happen in most places on this planet.


       On March 9, Attorney Noonan declared that “Yale is not a correspondence school” (Doc.
No. 37; p. 32). Ironically, as of March 19, Yale University is a correspondence school.




                                                            Respectfully,




                                                            Jakub Madej
                                                            The Plaintiff

                                                            65 Dwight St
                                                            New Haven, CT 06511

                                                            535 Fifth Avenue
                                                            New York, NY 10017

                                                            Email: j.madej@lawsheet.com
                                                            Telephone: (646) 776-0066
                                                            Facsimile: (203) 928-8486
                                                            Fax: (203) 902-0070




                                                                                               6
